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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO: 1:21-cv-22863-KMM

   JUDITH ANNE HAYES, individually and on behalf
   of W.H., a minor, et. al.,

           Plaintiffs,
   v.

   GOVERNOR RONALD DION DESANTIS, in his official
   Capacity as Governor of the State of Florida; et.al.,

         Defendants.
   _______________________________________________/

          PLAINTIFF’S RESPONSE TO THE SCHOOL BOARD OF VOLUSIA COUNTY
                            MOTION TO DISMISS [DE-85]

           COMES NOW, Plaintiffs, JUDITH ANNE HAYES, individually and on behalf of W.H.,

   a minor., et al., by and through the undersigned counsel, and hereby files response to the Motion

   to Dismiss filed by the School Board of Volusia County [DE-85], and states as follows:

           R.F., the nine-year-old daughter of Jamie Kinder is extremely immunocompromised due

   to gastrointestinal issues. 80-8. ¶ 4,5. R.K. has a weakened immune system and a reduced ability

   to fight infections making her vulnerable to severe illness and death due to COVID-19. DE 1, p.

   23. Because of her weakened immune system, she cannot return to school safety. Id. at ¶ 130. She

   is in the gifted program in Volusia Schools, and because of the pandemic, she is currently enrolled

   in virtual classes.

           School began on August 16,2021, but because of the parental opt-out of the mask mandate,

   and many children opting-out of wearing a mask, R.F. was not able to attend school because of

   her disability. 80-5, ¶ 6, 9. As a result, R.F. attends the Volusia Virtual School. Id at ¶ 9. The virtual

   school is different from her in-person school because it does not meet her Gifted needs and only
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   gives her 120 minutes of live interaction with a teacher per week. She only receives two special

   areas - Art and PR – but she does not get music or media & technology classes. R.K. has no access

   to student services like guidance counseling and SEL. R.K. is also missing out on all

   extracurricular activities, social activities and like assembles and birthday celebrations. Id. at ¶ 10.

           After Judge Cooper ruled that the mandate was unconstitutional under Florida Law on

   August 27th, Volusia County decided to vote a temporary mask mandate in place starting on

   September 7th through October 15th and would only provide a medical opt out. Id. at ¶ 7.               1


   However, once the First District Court of Appeal stayed Judge Cooper’s Order, the Volusia School

   Board revoked their rule on September 14th – Stating “In the end, school board members said

   that even if they think requiring masks is a good idea, they believe their hands are tied legally

   with a recent judge's ruling that allowed Gov. Ron DeSantis's ban on school mask mandates

   to stand.” 2

           R.F.’s in-school needs spring from her immunocompromised state and has nothing to do

   with changes in the course structure or teaching methodology, other than her ability to go to gifted

   classes. Because of her immunocompromised state, R.F. has been subject to discrimination as

   follows:

          1.       Ms. Kinder asked for several reasonable accommodations including asking for her

   classmate’s teacher to be masked and that R.K. be able to eat and drink in an outdoor seating area.

   (Much like peanut allergy classroom will not allow teachers or students to eat peanuts to protect

   one student with an allergy). She was told no that those 'protections' are voluntary. Ms. Kinder



   1
     https://www.clickorlando.com/news/local/2021/09/01/volusia-county-schools-to-put-in-mask-
   mandate-for-five-weeks/
   2
     https://www.mynews13.com/fl/orlando/news/2021/09/14/volusia-county-schools-mask-mandate


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   asked for the same type of reasonable accommodation as a peanut allergy because she was never

   told that the peanut protections were voluntary. When theywere in a "food allergy classroom" a

   letter went home from the principal and teacher, and it was unequivocal – “no peanuts’ because a

   student could suffer serious illness up to and including death. Changing classrooms was not offered

   either. It was the law of the classroom. Every single family complied in the name of keeping one

   child safe. 80-8, ¶25-26.

          2.      The Defendants stated that no accommodations would be provided regardless of

   her 504, blaming the state and the Parents Bill of Rights. They implied R.K.’s rights are now

   limited because parents’ rights supersede all of hers and her 504.80-8 ¶27

          3.      The virtual program is abysmal this year because the district has not properly

   funded the same because of threats made by the Florida Department of Education, pursuant to the

   governor’s order, to pull district funding of any district that offers asynchrony or synchronous

   learning for student who are not in quarantine. 80-8 ¶ 24.

          4.      R.K. can no longer play safely with any of her friends who attend school because

   of their possible exposure and transmission of COVID -19 to R.K. 80-8 ¶12

          5.      R.K.’s friends have been through her long medical journey with her and watched

   her fight, some of them even made the long journey to the hospital to visit her over the years. Now

   it is too dangerous for them to closely interact with R.K. 80-8 ¶13

          6.      R.K. is feeling isolated, depressed and lonely. R.K. wants more independence. She

   does not like spending so much time with her parents who are now her teachers, and support

   providers as well as her parents. R.K. hates being on a laptop all the top, as she says she wants to

   learn, “with her whole body and her friends, not alone on a screen!” 80-8 ¶14




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          7.      Due to the failure to have a mask mandate, R.K.’s older sister contracted COVID

   in Volusia Schools and had to live separate from R.K. during her quarantine and convalescence.

   80-8 29-33.

          8.      Because of the failure to adequately protect R.K. and provide a safe environment

   in the schools, the responsibility for teaching, supporting and providing services which would be

   provided by the school falls on the shoulders of her mother, Jamie Kinder. 80-8, ¶ 11, Because of

   this Jamie Kinder cannot work the same amount of time in which she would have, as 5-7 hours per

   day is being R.K.’s learning coach. 80-8, ¶34-35.

          Without effective masking in schools, R.K. cannot obtain any other less onerous preventive

   measures that would mitigate the harm. As long as many children remain unmasked, she will be

   placed at harm at all areas on the school, from transportation, to the bathroom, cafeteria and

   classroom.

          Less than three weeks prior to the beginning of the school year in Volusia County, Gov.

   DeSantis issued his executive order, E.O. 21-175, on July 30, 2021, which protected “the freedoms

   and statutory rights of students and parents by resting with the parents the decision whether their

   children should wear masks in school.” Ten days prior to the beginning of school, the Florida

   Departments of Health and Education promulgated polices pursuant to this Order. This included

   providing a parent a direct cause of action in the event that their child who was opted-out was

   segregated, isolated or excluded from school sponsored events or activities. 64DER21 -12(6). Gov.

   DeSantis wasted no time to enforce this emergency regulation and by August 9, issued public

   statements that the Department of Education would withhold the salaries of superintendents and




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   school board members who implemented mask mandates. 3 This was followed by a plethora of

   enforcement actions against non-compliant districts.

       I.        Standard of Review:

            The Plaintiffs’ complaint pleads sufficient facts and the law to withstand a motion to

   dismiss. A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) should be

   granted if the allegations in the complaint fail "to state a claim upon which relief can be granted."

   Fed. R. Civ. P. 12(b)(6). A Rule 12(b)(6) motion tests the formal sufficiency of the allegations of

   claims for relief. The dismissal of a complaint is warranted "when, on the basis of a dispositive

   issue of law, no construction of the factual allegations will support the cause of action." Glover v.

   Liggett Group, Inc., 459 F.3d 1304, 1308 (11th Cir. 2006).

            When ruling on a motion to dismiss under Rule 12(b)(6) a court “accepts that allegations

   in the complaint as true and constru[es] them in the light most favorable to the plaintiff.” Hill v.

   White, 321 F.3d 1334, 1335 (11th Cir. 2003). "While legal conclusions can provide the framework

   of a complaint, they must be supported by factual allegations." Ashcroft v. Iqbal, 556 U.S. 662,

   679 (2009). Those "[f]actual allegations must be enough to raise a right to relief above the

   speculative level." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). "[A] complaint must

   contain sufficient factual matter, accepted as true, to 'state a claim to relief that is plausible on its

   face.'" Iqbal, 556 U.S. at 679 (citing Twombly, 550 U.S. at 570). In short, the complaint cannot

   merely allege misconduct, but must demonstrate that it is plausible that the pleader is entitled to

   relief. Id.




   3
    https://miami.cbslocal.com/2021/08/11/ron-desantis-state-education-board-withhold-salaries-
   superintendents-school-board-members-mask-mandates/


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      II.       R.K. and her mother states a claim upon which relief may be granted.

             Notwithstanding the fact that a request for modification does not need to be made when

   such request would be futile, Jamie Kinder has made request, and has been denied. However, for

   purposes of this complaint, and due to the existence of the law, any request would be futile as it

   would conflict with Florida Law. In cases where there is actual notice that a person or organization

   would fail to comply with ADA provision, the Futile gesture doctrine applies. International

   Brotherhood of Teamsters v. U.S., 431 U.S. 324, 365-66 (1977)(“ “[w]hen a person's desire for a

   job is not translated into a formal application solely because of his unwillingness to engage in a

   futile gesture he is as much a victim of discrimination as is he who goes through the motions of

   submitting an application.”). An ADA claimant is not required “to engage in a futile gesture if

   such person has actual notice that a person or organization covered by this subchapter does not

   intend to comply ...”42 U.S.C. § 12188(a)(1). A plaintiff may have “actual notice” by either having

   “encountered discrimination or [having] learned of the alleged violations through expert findings

   or personal observation.” Resnick v. Magical Cruise Co., Ltd., 148 F.Supp.2d 1298, 1302 (M.D.

   Fla. 2001) (quoting Parr v. L& L Drive-Inn Rest, 96 F.Supp.2d 1065, 1081 (D. Haw. 2000)). This

   has been applied to architectural barriers in public schools under Title II of the ADA, see Greer v.

   Richardson Indep. Sch. Dist., 752 F. Supp. 2d 746, 758 (N.D. Tex. 2010), aff'd, 472 F. App'x 287

   (5th Cir. 2012)

      III.      Failure to Exhaust Administrative Preconditions.

             As this case is identical to G.S. by & through Schwaigert v. Lee, No. 21-CV-02552-SHL-

   ATC, 2021 WL 4057812, at *3 (W.D. Tenn. Sept. 3, 2021), as R.K. is similar to Plaintiff G.S. and

   Plaintiff S.T, who both suffer from conditions that make them immunocompromised, and the

   governor of Tennessee also ordered a mask mandate – similar to the case at bar. In that case, the


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   District Court Judge found that not only did G.S. and S.T. stated a claim, but were likely to succeed,

   as follows:

               In addition to standing, Defendant Lee argues that another prerequisite to these
          claims has not been fulfilled, specifically exhaustion of administrative remedies.
          Defendant Lee contends that Plaintiffs first must exhaust administrative remedies
          under the Individuals with Disabilities Education Act (IDEA) before proceeding to
          the merits of claims under the ADA or Rehabilitation Act. (ECF No. 24 at PageID
          118.) However, as is discussed below, the IEPs for G.S. and S.T. are not the crux
          of this case. Instead, Plaintiffs seek to protect their bodily health within a public
          educational setting – protection provided by the Shelby County Health Department
          through the enforcement of a mask mandate applicable to schools in the County,
          now restricted by Governor Lee's Executive Order. Because Plaintiffs seek redress
          from the harm caused by an Executive Order that prevents their ability to access
          critical public programs and services, the exhaustion requirement under IDEA does
          not apply. Therefore, the Court has also not “exceeded its jurisdiction” by
          considering these claims. See Metro. Bd. of Public Educ. v. Guest, 193 F.3d 457,
          463 (6th Cir. 1999) (jurisdictional challenge applying only to when district court is
          reviewing administrative decisions).

              The IDEA “compels exhaustion when a plaintiff seeks ‘relief’ that is ‘available’
          under” the statute. Fry v. Napoleon Cmty. Sch., ––– U.S. ––––, 137 S. Ct. 743, 753,
          197 L.Ed.2d 46 (2017). Even if a plaintiff “proceed[s] under the auspices of the
          ADA [and] the Rehabilitation Act ..., the IDEA nonetheless requires them to first
          exhaust its administrative procedures and remedies” before proceeding with claims
          under other statutes where a claim could be brought under the IDEA. Sagan v.
          Sumner Cty. Sch. Bd., 726 F. Supp. 2d 868, 880 (M.D. Tenn. 2010). However, “if
          the remedy sought is not for the denial of a free appropriate public education
          (FAPE), then exhaustion of the IDEA's procedures is not required.” Fry, 137 S. Ct.
          at 754.

              To determine whether a plaintiff is seeking relief for the denial of a FAPE, the
          Supreme Court has instructed that “a court should look to the gravamen of the
          Plaintiffs’ complaint.” Id.; see also Perez v. Sturgis Pub. Sch., 3 F.4th 236, 241 (6th
          Cir. 2021) (“[T]he Supreme Court has told us to look beyond the surface of the
          pleadings and ask: is the crux of the complaint the denial of a free appropriate
          education?”). The petitioners in Fry, parents of a child with cerebral palsy,
          requested permission for her service dog to accompany her to kindergarten. Fry,
          137 S. Ct. at 751. School officials refused the request because the child already had
          a “human aide” included as part of her IEP. Id. Overturning the Sixth Circuit's
          requirement of exhaustion under the IDEA for petitioner, the Supreme Court
          concluded that petitioners’ claims under the Rehabilitation Act and ADA may not
          simply be “educational,” as the Sixth Circuit had found, but appeared rooted in a
          more fundamental concern regarding “non-discriminatory access to public


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         institutions.” Id. at 756. Even with some “overlap in coverage” between the three
         statutes, the petitioners’ ADA and Rehabilitation Act claims could go forward if
         the issue was about accessing education, not about the education itself. Id.

             Two questions provided in Fry, and reiterated by the Sixth Circuit in Perez,
         serve as “clues” to determining the gravamen of a complaint: “could the plaintiff
         have brought ‘essentially the same claim’ against a different kind of public facility,
         like a public theater or library? ... And could an adult at the school, like an employee
         or a visitor, have ‘pressed essentially the same grievance?” Perez, 3 F.4th at 240-
         41.

             In Perez, the answer to both questions was no. Perez, a 23-year old deaf student
         whose assigned classroom aide was ineffective, filed a complaint focused on “the
         adequacy of his education,” and the fact that “the school failed to provide him with
         the educational services he needed.” Id. at 241. The Sixth Circuit concluded that
         Perez “could not bring essentially the same claim against a facility that had no
         responsibility to educate him and no opportunity to conceal his lack of progress.”
         Id. Furthermore, the school would not have a similar obligation to an adult to
         provide necessary educational services, so an adult could not have pressed this
         grievance. Id. Accordingly, IDEA exhaustion was required.

             In this case, Defendant Lee argues that the answer is no to both questions,
         meaning that Plaintiffs must first exhaust administrative requirements under IDEA
         before filing suit in federal court. In response, Plaintiffs argue that the answer to
         both questions is yes. The Court agrees with Plaintiffs. First, Plaintiffs, children
         with disabilities suffering from a severe threat of injury if exposed to COVID-19,
         could similarly be denied access to the benefits of other public entities, such as
         public transportation or a public hospital. Moreover, the Governor's Executive
         Order No. 84 is applicable in school settings that are not directly related to a child's
         learning, including “on a school bus, or at [undefined] school functions.” Thus the
         threat of exposure to unmasked children with COVID-19 is present in non-
         educational areas of schools as well as in other public facilities.

             Further, activities that Plaintiffs cannot access at school are not solely
         educational. For instance, G.S.’s mother testified that he is not allowed to go to P.E.
         class, preventing him from obtaining physical exercise and neurotypical peer
         interaction. (ECF No. 26, Brittany Schwaigert testimony.) In addition, G.S. must
         come to school 15 minutes late every day to be sure he does not expose himself to
         COVID-19 by walking in the hallways at the same time as other kids – hardly an
         essential component of an education, but more akin to other non-educational public
         settings. (Id.) Thus, Plaintiffs could bring this claim against different kinds of public
         facilities, and have raised this claim involving non-educational aspects of their
         schools. The answer to question one of Fry’s inquiry is yes.




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              Second, a school employee could likely file the same sort of grievance as
          Plaintiffs have in this case, if by virtue of their disability they were similarly under
          threat of severe illness or death by exposure to COVID-19, and their job (as a
          teacher, custodial employee, or otherwise) brought them into contact with children
          who opted out of the County's mask mandate pursuant to Governor Lee's Executive
          Order. Their claim for employment discrimination based on disability could not, in
          this instance, be brought under IDEA or remedied through an IEP, but could
          possibly be brought under the ADA or Rehabilitation Act. Question two demands
          a “yes” answer as well.

               A commonsense analysis of this situation reinforces the answers to these two
          critical questions. Plaintiffs are not suing for individualized, specific claims under
          their IEPs. In fact, G.S.’s mother stated that G.S. had already received
          accommodations under the IEP that were still not sufficient because it only required
          masking by adults providing services to him, but not by children who are all around
          him. (ECF No. 2-2 at Page 46.) In this instance, nothing could be put in place
          sufficient to reasonably protect G.S. and others with disabilities while Governor
          Lee's Executive Order still stands. It follows that the type of relief sought in this
          case is not contemplated through the IEP or administrative process. This matter
          does not turn on an individualized education plan; it turns on whether Governor
          Lee's ban on the enforcement of public health regulations promulgated by the
          County violates the ability of individuals with disabilities to access these public
          programs and services. The “gravamen” of Plaintiffs’ claims is their access to
          education through a reasonable modification – indeed, one supported by the
          County's own Health Department and applicable to Plaintiffs’ schools. As such, this
          claim rightfully must be considered an ADA and Rehabilitation Act claim, not one
          under the IDEA. No exhaustion requirements apply here.

   G.S. by & through Schwaigert v. Lee, No. 21-CV-02552-SHL-ATC, 2021 WL 4057812, at *5–7

   (W.D. Tenn. Sept. 3, 2021). There is no difference between 11th Circuit law and 6th Circuit law in

   this respect and was aptly illustrated by Judge Bloom in Alboniga v. Sch. Bd. of Broward Cty.

   Fla., 87 F. Supp. 3d 1319 (S.D. Fla. 2015).

          The two differences in this case is that Governor Lee did not relentlessly enforce his Orders

   thought the Department of Education and attempt to revoke the school board member’s salaries

   and that the in regulation relating to the requirement of a parental opt-out, the drafters provided a

   direct cause of action under the parents’ bill of rights, § 1014.01, Fla. Stat., et seq. when a child

   who chooses not to wear a mask is subject to discrimination.


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             (6) NON-DISCRIMINATION. Students whose parents or legal guardian have
                 opted them out of a mask or face covering requirement shall not be subject to
                 any harassment or discriminatory treatment, including but not limited to:

                (a) Relegation to certain physical locations;
                (b) Isolation during school activities; or
                (c) Exclusion from any school-sponsored events or activities.

    rule 64DER21-12(6). Ironically, R.K. has been subject to ALL these forms of discrimination

    because others will not wear a mask for her.

             The sole rationale by this Court in Denying the Motion for Preliminary Injunction was the

    intoning (and, necessarily, bolding) the terms “FAPE” or “least restrictive environment” without

    recognizing that the gravamen of the case, that the refusal of entry into the schoolhouse is the

    gravamen of the case, as in both G.S. and in ARC of Iowa v. Reynolds both found that access to

    the schoolhouse was the gravamen of the case.

             Specifically, with R.K., there is no difference from her situation and the plaintiffs in G.S.

       IV.      Futility and ineffectiveness

             In addition to the Fry test, the exhaustion of the administrative remedies under the IDEA

    is not required where resort to administrative remedies would be 1) futile or 2) inadequate. N.B.

    by D.G. v. Alachua Cty. Sch. Bd., 84 F.3d 1376, 1379 (11th Cir. 1996); M.T.V. v. DeKalb County

    School District, 446 F.3d 1153, 1159 (11th Cir 2006). Exhaustion is not required in very limited

    circumstances, such as where exhaustion is futile or inadequate, where the question presented is

    purely legal, where the administrative process cannot grant relief, or where exhaustion would work

    a severe or irreparable harm upon a litigant. D.M. v. New Jersey Dept. of Educ., 801 F.3d 205 (3d

    Cir. 2015). Springer v. Wal–Mart Assocs. Group Health Plan, 908 F.2d 897, 901 (11th

    Cir.1990)(To substantiate a claim of futility the Petitioners must make a “clear and positive”

    showing of futility); see also McGraw v. Prudential Ins. Co. of Am., 137 F.3d 1253, 1264 (10th


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    Cir.1998) (noting that futility exception is limited to those situations where resort to administrative

    remedies would be “clearly useless”).

           In this matter, a hearing officer would not be able to address a child’s “substantive right”

    to a FAPE, such as requiring other students to wear masks, especially when such relief violates

    Florida law. Further, an administrative court does not have jurisdiction over the Governor, the

    Commissioner of Education, or the Department of Education. P.J.S. v. School Bd. Of Citrus Cty.,

    951 So. 2d 53 (Fla. 5th DCA 2007). Hearing officers can only resolve disputes between a parent

    and a school district. See 20 U.S.C. § 1415(f)(1)(A). The mere fact that remedies are not available,

    even after the due process hearing occurs, would make the process, by definition futile and

    inadequate. In this matter, the need for a safe environment is beyond the scope of the due process

    hearing. See Weber v. Cranston Sch. Comm., 212 F.3d 41, 52 (1st Cir.2000) (observing that a

    state's implementation of the IDEA may render exhaustion futile where a plaintiff's complaint lies

    beyond “the scope of the due process hearing”); McGraw v. Prudential Ins. Co. of Am., 137 F.3d

    1253, 1264 (10th Cir.1998) (noting that futility exception is limited to those situations where resort

    to administrative remedies would be “clearly useless”).

           Furthermore. systemic violations, such as a widespread legal violation or a practice, are an

    example of such inadequate or futile events which would not require exhaustion, exhaustion is

    similarly deemed to be inadequate and not necessary when “an emergency situation exists (e.g.,

    the failure to take immediate action will adversely affect a child's mental or physical health).”

    Komninos by Komninos v. Upper Saddle River Bd. of Educ., 13 F.3d 775, 778–79 (3d Cir.

    1994)(quoting H.R.Rep. No. 296, 99th Cong., 1st Sess. 7 (1985)). In this case, the regulation, in

    and of itself, is an emergency regulation. The mere fact that the due process timeline under Florida




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    Administrative Code 6A06.03311(9) provides at least 75 days for a decision makes relief futile.

    This is not including the court delays that have also been systemic due to the pandemic.

           One of the protections that is usually provided to a student is the IDEA’s stay put provision.

    Section 1415(j) establishes a student's right to a stable learning environment during what may be

    a lengthy administrative and judicial review. Tenn. Dep't of Mental Health & Mental Retardation

    v. Paul B., 88 F.3d 1466, 1472 (6th Cir.1996). If the child is ejected from his or her current

    educational placement while the administrative process sorts out where the proper interim

    placement should be, then the deprivation of education is complete. And, when such deprivation

    cannot be satisfied by the stay put provision, then again, immediate relief is essential to vindicate

    a child’s right. See Murphy v. Arlington Cent. Sch. Dist. Bd. of Educ., 297 F.3d 195, 199–200 (2d

    Cir. 2002); L.A. v. New York City Dep't of Educ., 2020 WL 5202108, at *3 (S.D.N.Y. Sept. 1,

    2020). In this matter, there is no protections afforded to a child in the delay, as the stay-put option

    places more harm to the child’s education and health. Furthermore, the situation with surges of

    COVID are so fluid, that the complying with such conditions each time an arbitrary rule placing

    children with disabilities in danger would make relief always impossible. See Roman Cath.

    Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 208 L. Ed. 2d 206 (2020).

           In this case, the facts themselves demonstrate the futility of administrative processes. For

    G.D., she could not get the services that she needed for her emotional disability through any

    alternate means than by-in person education. Further, with the children with asthma, there is

    nothing that an administrative law judge could or could not do to other children in the classrooms,

    lunch room, hallways, or school busses. This physical segregation is the exact harm the ADA was

    meant to address that is not addressed by the IDEA, as such relief would be futile and inadequate.

    See Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 119 S. Ct. 2176, 144 L. Ed. 2d 540 (1999).


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        V.      Venue and Forum

             The Plaintiffs’ focus on one forum to resolve the issues relates to the need for uniformity

    and settled expectations, but it is also directly attributable to the venue issues that are involved in

    this case. Pursuant to 28 U.S.C. § 1391,

             Venue in general. --A civil action may be brought in--(1) a judicial district in which
             any defendant resides, if all defendants are residents of the State in which the
             district is located.

             In this matter, all of the defendants reside in the state of Florida, and plaintiffs brought the

    case in a district in which several defendants reside. As such, venue is appropriate. There are no

    exceptions to the venue rule other than forum non-convenience. However, due to the overall issues

    of law in dispute in this case and the use of remote proceedings during the pandemic, forum non

    conveniens, 29 U.S.C. § 1404(a) is a non-issue, especially so when each defendant contends that

    each of its locations is a proper forum. The Defendants have not stated any specific reason why

    the Northern District, or the Middle District would be more convenient than the southern district,

    other than to sever the claims, which again, would bring inconsistent adjudications and would

    further delay the immediate relief that the Plaintiffs are requesting, and the same immediate relief

    would also inure to the benefits of the Defendants who should want their legal obligations resolved

    in light of the danger to their students.

             Lastly, the “Home Venue Privilege” is inapplicable. It provides that, absent waiver or

    exception, venue in a suit against the State, or an agency or subdivision of the State, is proper only

    in the county in which the State, or the agency or subdivision of the State, maintains its principal

    headquarters. Fla. Pub. Serv. Comm'n v. Triple “A” Enters., Inc., 387 So.2d 940, 942 (Fla.1980).

    Primarily, state created procedural rights must cede to federal rules and procedures. See Hanna v.

    Plumer, 380 U.S. 460, 473–74, 85 S. Ct. 1136, 1145, 14 L. Ed. 2d 8 (1965)(“To hold that a Federal


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    Rule of Civil Procedure must cease to function whenever it alters the mode of enforcing state-

    created rights would be to disembowel either the Constitution's grant of power over federal

    procedure or Congress' attempt to exercise that power in the Enabling Act.”). The procedural

    requirements of 28 U.S.C. 1391 supersede Florida law as to appropriate venue.

           WHEREFORE, Plaintiffs, JUDITH ANNE HAYES, individually and on behalf of W.H.,

    a minor., et al., respectfully requests that this Court DENY the Defendant’s motion to dismiss and

    grant any further relief as this court deems just and equitable.

           Respectfully submitted this 21th day of September 2021.

                                                   By: /s/Matthew W. Dietz _____
                                                   Matthew W. Dietz, Esq.
                                                   Florida Bar No. 84905


                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 21, 2021, I electronically filed the foregoing

    with the Clerk of the Court by using the CM/ECF system which will send notice of electronic

    filing to all parties and counsel of record, or in some other authorized manner for those counsel or

    parties who are not authorized to receive notices electronically.

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